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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  THE HILLMAN GROUP, INC.,
                                              §
               Plaintiff,                     §
  v.                                          § CIVIL ACTION NOS. 2:19-CV-00209-JRG
                                              § 2:20-CV-00070-JRG
  KEYME, LLC,
                                              §
               Defendant.                     §

                              JURY VERDICT FORM

       In answering the following questions and completing t is Verdict Form, you

 are to follow all the instructions I have given you in the Court s Final Jury

 Instructions. Your answers to each question must be unanimous. Some of the

 questions contain legal terms that are defined and explained in detail in the Final

 Jury Instructions. You should refer to and consider the Final Jury Instructions as you

 answer the questions in this Verdict Form.
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 As used herein, the following terms have the following meanings:

    • Hillman refers to The Hillman Group, Inc.

    • KeyMe refers to KeyMe, LLC

    • The “ 446 Patent refers to U.S. Patent No. 8,979,446.


    • The “ 179 Patent refers to U.S. Patent No. 9,914,179.


    • The “’474 Patent refers to U.S. Patent No. 10,400,474.


    • The “’830 Patent refers to U.S. Patent No. 10,577,830.


    • The “’813 Patent refers to U.S. Patent No. 10,628,813.


    • The “’336 Patent refers to U.S. Patent No. 10,737,336.

    • The “Patents-In-Suit refers collectively to the ’446, ’179, ’474, ’830, ’813,
       and ’336 Patents.


    • The “Asserted Claims refers collectively to:

          o Claims 70 and 71 of the ’446 Patent;

          o Claims 9, 10, and 15 of the’179 Patent;

          o Claim 7 of the ’474 Patent;

          o Claims 1, 9, 10, and 12 of the’830 Patent;

          o Claims 1, 8, 15, and 17 of the ’813 Patent; and

          o Claims 1, 5, 6, and 8 of the ’336 Patent.




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   IT IS VERY IMPORTANT THAT YOU FOLLOW THE
  INSTRUCTIONS PROVIDED IN THIS VERDICT FORM.




           READ THEM CAREFULLY AND
    ENSURE YOUR VERDICT COMPLIES WITH THEM.




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  QUESTION NO. 1:



  Did Hillman prove by a preponderance of the evidence that KeyMe infringed ANY

  of the Asserted Claims?




        Yes:                No:




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  QUESTION NO. 2;



 Did KeyMe prove by clear and convincing evidence that any of the following

 Asserted Claims are invalid?

 Check either Yes or “No for each Asserted Claim listed below:


            Claim 9 of the 179 Patent    Yes:            No: V

            Claim 10 of the T 79 Patent Yes:             No:

            Claim 15 of the 179 Patent Yes:              No:

            Claim 7 of the ’474 Patent   Yes:            No: x

            Claim 1 of the ’830 Patent   Yes:            No:

            Claim 9 of the ’830 Patent   Yes:            No:

            Claim 10 of the ’830 Patent Yes:             No:

            Claim 12 of the ’830 Patent Yes:             No:

            Claim 1 of the ’336 Patent   Yes:            No:

            Claim 5 of the ’336 Patent   Yes:            No:

            Claim 6 of the ’336 Patent   Yes:            No:

            Claim 8 of the ’336 Patent   Yes:            No:




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 If you answered NO to Question No. 1, then DO NOT answer Questio No. 3.

 Answer Question No. 3 ONLY as to any Asserted Claim of the 446 179, 830,
 ’336, or ’813 Patents that you have found BOTH to be infringed AND not
 invalid.




 QUESTION NO. 3



 Did Hillman prove by a preponderance of the evidence that KeyMe willfully

 infringed ANY of the Asserted Claims of the 446, 179, ’830, ’336, or ’813 Patents

 that you found were infringed?




       Yes:             N o:




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 If you answered NO to Question No. 1, then DO NOT answer Question Nos. 4a,
 4b, or 4c.

 Answer Question Nos. 4a, 4b, and 4c ONLY as to any Asserted Claim that you
 have found BOTH to be infringed AND (if applicable) not invalid.



 QUESTION NO. 4a:



 What sum of money, if any, has Hillman proven by a preponderance of the evidence

 that it is entitled to as lost profits?




 Answer in United States Dollars and Cents, if any:




        $




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 If you awarded lost profits in Question 4a, you must also answer Question 4b
 as to any acts of infringement for which you have not already awarded lost
 profits.

 If you did NOT award any lost profits in Question 4a, you must answer
 Question 4b as to ALL acts of infringement.



 QUESTION NO. 4b:



 What sum of money, if any, paid now in cash, has Hillman proven by a

 preponderance of the evidence would compensate Hillman as a reasonable royalty

 for its damages resulting from infringement?




 Answer in United States Dollars and Cents, if any:




       $




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  QUESTION NO. 4c:

       Is the reasonable royalty amount you awarded in Question 4b: (i) a lump-

 sum representing damages for past and future infringement; (ii) a lump-sum

 representing damages for past infringement only; or (iii) a rur ing royalty?




       Check ONE of the following:



                                              Lump Sum for past and future
                                              infringement

                                                   -OR-


                                              Lump Sum for past infringement only

                                                   -OR-


                                              Running Royalty




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                       FINAL PAGE OF JURY VERDICT FORM

        You have now reached the end of the Verdict Form and should review it to

  ensure it accurately reflects your unanimous determinations. The Jury Foreperson

  should then sign and date the Verdict Form in the spaces below. Once this is done,

  notify the Court Security Officer that you have reached a verdict. The Jury

  Foreperson should keep the Verdict Form and bring it when the jury is brought back

  into the courtroom.



  Signed this /   d_    day of April, 2021 .




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